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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA



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                                               )
      Rodney Lail, et al.,                     )
                                               )
             Plaintiffs,                       )
                                               )     C.A. No. 10-CV-210-PLF
                    v.                         )
                                               )
      United States Government, et al.,        )
                                               )
                                               )
             Defendants.                       )
                                               )
                                               )
                                               )


         PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
      DEFENDANTS SEAN MARKHAM’S AND SUSAN STEWART’S
          MOTIONS TO DISMISS (DOCUMENTS 33, 34, & 35)

      Pro Se plaintiffs in the above caption case hereby file their brief in

Opposition to defendants’ Sean Markham and Susan Stewart’s Motion to Dismiss.

(Doc. Nos. 33, 34 & 35.) The motion must be denied as (1) this Court has personal

jurisdiction over defendants Markham and Stewart, and (2) the venue is proper in

this Court, as set forth below in detail:




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                               I.     Statement of Facts.

             In Defendants’ Memorandum (Doc. 34), Defendants Markham and

Stewart first addressed their version of what they would like this Court to interpret

as the background and in doing so hoping this Court ignores the essence of the

Complaint filed in this Court by the Plaintiffs. Markham and Stewart instead

constructed a version that is designed to confuse the Court and lead the court to

infer that the causes of action in the plaintiffs’ complaint before this Court

involving Markham and Stewart were solely related to a family court case litigated

in South Carolina.

      Markham’s and Stewart’s version of events ignore the interrelated

circumstances that link their actions as part of the conspiracy that maliciously used

the frail 93 year old plaintiff Doris Holt to stop the lawsuit proceeding in this

Court. (See Complaint ¶ 146, 174, & 193.) The fact that documents were found

concerning the Federal and State tort claims filings in the files of Markham and

Stewart and the fact that Markham and Stewart worked out a deal unknown to

plaintiff Doris Holt and her family with personnel from a named defendant listed in

the Federal and State tort claims to lock Doris Holt up for in essence the rest of her

natural life without due process on September 5, 2009 without reviewing plaintiff

93 year old Doris Holt’s medical records (See Complaint ¶ 186), were glaringly

missing from the defendants rendition of events. These and many other facts


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contained in the complaint show the plausibility of the plaintiffs contentions of

Markham’s and Stewart’s roles in the conspiracy.


            II. The Court Must Accept Plaintiffs’ Allegations As True.

      Contrary to defendants’ arguments in the motion to dismiss, the Court must

accept as true all the factual allegations in the Complaint when ruling on a motion

to dismiss. In Ashcroft v. Iqbal the Supreme Court found that “[t]o survive a

motion to dismiss, a complaint must contain sufficient factual matter, accepted as

true, to state a claim of relief that is plausible on its face.” Ashcroft v. Iqbal, 129

S.Ct. 1937, 1949 (U.S. 2009).

      See also, Leatherman v. Tarrant County Narcotics Intelligence and

Coordination Unit, 507 U.S. 163, 113 S.Ct. 1160, 122 L.ED.2d 517 (1993); United

States v. Gaubert, 499 U.S. 315, 327, 111 S.Ct. 1267, 1276, 113 L.Ed.2d 335

(1991).


  III. This Court Has Personal Jurisdiction Over Defendants Markham and
                                  Stewart.

      The Washington, D.C. Circuit Court made the criteria clear to establish

personal jurisdiction in a civil conspiracy in Manook v. Research Triangle where

the court established:

      For conspiracy jurisdiction within the District of Columbia, the
      plaintiff must allege: (1) the existence of a civil conspiracy; (2) the
      defendant’s participation in the conspiracy; and (3) an overt act by a
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      coconspirator within the forum, subject to the long-arm statute, and in
      furtherance of the conspiracy. More importantly, a plaintiff seeking to
      meet its burden of demonstrating that a court may exercise jurisdiction
      over foreign defendants under a conspiracy theory must present a
      particularized pleading of the conspiracy as well as the overt acts
      within the forum taken in furtherance of the conspiracy.


Estate of Manook v. Research Trinangle Inst. Int’l, 693 F.Supp. 2d 4, 18-19

(D.D.C. 2010).

      First, the complaint makes clear the existence of a civil conspiracy and

defendants Markham’s and Stewart’s participation in said conspiracy. Beginning

in ¶ 186 of the Complaint, Markham’s and Stewart’s known roles in the conspiracy

are outlined. The plaintiffs have alleged that defendants Markham and Stewart, as

well as other residents of South Carolina, Virginia, West Virginia, North Carolina

and Washington, DC engaged in a civil conspiracy to deprive plaintiffs of their

property and their constitutional rights. Consequently, as plaintiffs have alleged

the existence of the conspiracy and the defendants Markham’s and Stewart’s

participation in that conspiracy, prongs one and two of the Manook test are

satisfied and the plaintiffs’ claims are plausible.

      Furthermore, the Complaint states in detail several of the actions taken in

Washington, D.C., which plaintiffs contend was the hub of the conspiracy with the

FBI at the vortex of the cover-up. These actions include, but are not limited to, the

FBI’s submission of fraudulent NCIC reports to the Senate Judiciary Committee.


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(See Complaint ¶ ¶ 117-120.) A second example of the numerous acts conducted

within the forum was the use of national security to hide incriminating documents

to subvert the constitutional rights of the plaintiffs. (See Complaint ¶ ¶ 123, 140, and

236.)

        Additionally, all records of the actions taken by the central perpetrators and

the agents employees of the FBI are kept in Washington and such records were

concealed from plaintiffs by the actions of the FBI in Washington, D.C. As

coconspirators, defendants Markham and Stewart are held responsible for all of the

actions of the conspiracy. Therefore, the third prong of the Manook test is

satisfied. These allegations are sufficient to confer on this Court personal

jurisdiction over defendants Markham and Stewart in these plausible claims.

        Per the Complaint, plaintiffs contend that defendants Markham and Stewart

were knowingly and integrally involved in depriving constitutional rights

including, but not limited to, the right to due process, and participated in taking

away the personal freedom of plaintiff Doris Holt; subjecting 93 year old plaintiff

Doris Holt and her son plaintiff James Spencer to pain and suffering in retaliation

for plaintiffs lawfully seeking a hearing before this Court and in doing so issuing,

as required by Federal and State law, tort claims notices. (See Complaint ¶¶ 186,

252, 275.) These actions were both retaliatory and intended to interfere with the




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plaintiffs rights to pursue justice in this Court and are plausible based on the

content of the Complaint.

      It is premature to have Markham and Stewart dismissed from this lawsuit

until discovery is conducted to determine the extent of their role in this conspiracy.

                    IV. Additional Case Law Considerations:

      South Carolina decisions also support the contention that the proper

jurisdiction would be the D.C. District Court. A plaintiff must only make a prima

facie showing that the court has jurisdiction over the defendant for the civil action

to continue, and allegations in the complaint to this effect are normally sufficient to

warrant exercise of jurisdiction. Brown v. Investment Management and Research,

Inc., 475 S.E.2d 754 (1996). The court must take as true the allegations of the non-

moving party and resolve all factual disputes in the non-movants’ favor. Id. at 756.

Whenever a plaintiff alleges a civil conspiracy perpetrated by both residents of a

state and nonresidents, there is personal jurisdiction over the nonresidents as long

as some of the actions of the conspiracy occurred within the state. Hammond v.

Butlert, Means, Evans, & Brown, 388 S.E.2d 796, cert. denied, 498 U.S. 952, 111

S. Ct. 373, 112 L.Ed.2d. 335 (1990).

               V. This Court Has Supplemental Jurisdiction Over
                         Plaintiffs’ State Law Claims.

      Along with the federal claims for violation of the plaintiffs’ civil rights,

plaintiffs have alleged various state law claims against defendants, including
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defendants Markham and Stewart. Federal courts have supplemental jurisdiction

over any state law claims, which form part of the same case or controversy. 28

U.S.C. § 1367. The central concern in deciding whether to assert supplemental

jurisdiction over state law claims is the burden on the parties and the judicial

system if the state law claims are not retained and the plaintiffs are forced to file

several suits in several jurisdictions. United Mine Workers of America v. Gibbs,

383 U.S. 715, 86 S. Ct. 1130 (1996).

      In the present case, all of the plaintiffs’ claims alleged in the Complaint are

related to a conspiracy emanating from the FBI in Washington, D.C., and

involving FBI personnel who report to FBI Headquarters in Washington D.C.,

assigned by FBI Headquarters to duty in West Virginia, Virginia, North Carolina

and South Carolina and other individuals and entities in which the defendants

engaged in a pattern of harassment, extortion, racketeering and oppression, in an

attempt to discredit the plaintiffs and to a cover-up of crimes related to taking

control of their business and denying plaintiffs constitutionally guaranteed rights. It

would be extremely burdensome and cost prohibitive to break apart all of the

various claims and require the plaintiffs to pursue this litigation piecemeal in

various state courts in West Virginia, Virginia, South Carolina, North Carolina and

Washington, D.C. The more judicially efficient plan for all parties involved is to




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